          Case 8:12-cv-01994-DOC-JCG                           Document 222-1               Filed 10/24/24             Page 1 of 2 Page
                                                                   ID #:3124
                                                                                                                                                        EJ-195
ATTORNEY OR PARTY WITHOUT ATTORNEY                           STATE BAR NUMBER:   193225                                   FOR COURT USE ONLY
NAME:  D. Jason Davis
FIRM NAME: DAVIS LAW OFFICE
STREET ADDRESS: 222 W. 6th St., Suite 400
CITY: San Pedro                                     STATE: CA    ZIP CODE: 90731
TELEPHONE NO.: (424) 256-6279                      FAX NO.:
EMAIL ADDRESS: jason@davislo.com
ATTORNEY FOR (name): Judgment Creditors Big Bird Holdings, LLC and Jonathan David Parker

SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 STREET ADDRESS: 411 West 4th Street, Room 1053
 MAILING ADDRESS:
CITY AND ZIP CODE: Santa Ana, CA 92701
     BRANCH NAME: Central District of CA - Southern Division

PLAINTIFF/PETITIONER: David Parker and Big Bird Holdings, LLC
DEFENDANT/RESPONDENT: Alexander Marine Co., Ltd.
                                                                                                        CASE NUMBER:
                           NOTICE OF RENEWAL OF JUDGMENT                                                8:12-cv-01994-DOC-JCG


TO JUDGMENT DEBTOR (name): Alexander Marine Co., Ltd.


1. This renewal extends the period of enforceability of the judgment until
    a.              10 years from the date the application for renewal was filed.
    b.              5 years from the date the application for renewal was filed.
           (The judgment creditor should check 1b if the judgment is a money judgment; is not based on tortious or fraudulent conduct or
           for unpaid wages, damages, or penalties owed to an employee; and, as of the date of the application of renewal, the
           judgment:
                    has an unsatisfied principal amount under $50,000 and relates to a claim for personal debt; or
                    has an unsatisfied principal amount under $200,000 and relates to a claim for medical expenses.)
           (Code Civ. Proc., §§ 683.110–683.120.)

2. If you object to this renewal, you may make a motion to vacate or modify the renewal with the court.

3. You must make this motion within 60 days after service of this notice on you.

4. A copy of the Application for and Renewal of Judgment is attached (Cal. Rules of Court, rule 3.1900).

Date: October 24, 2024
D. Jason Davis
                    (TYPE OR PRINT NAME)                                                            (SIGNATURE OF JUDGMENT CREDITOR OR ATTORNEY)




                                       See Code of Civil Procedure section 683.160 for information on method of service
                                                                                                                                                        Page 1 of 1
Form Adopted for Mandatory Use                                                                                                    Code of Civil Procedure, § 683.160
Judicial Council of California                     NOTICE OF RENEWAL OF JUDGMENT                                                                  www.courts.ca.gov
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                                     ID #:3125


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  2                             CERTIFICATE OF SERVICE
  3          Pursuant to Local Rule, I, the filer of this document, attest that all other
  4   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
      content and have authorized the filing. I certify that on October 24, 2024, I
  5   electronically filed the foregoing NOTICE OF RENEWAL OF JUDGMENT with
  6   the Clerk of the Court for the United States District Court, Central District of
      California, by using the CM/ECF system. Participants in the case who are
  7   registered CM/ECF users will be served by the CM/ECF system.
  8

  9
 10    Dated: October 24, 2024                 DAVIS LAW OFFICE
 11
                                               By:   /s/ D. Jason Davis
 12                                               D. Jason Davis, Esq.
                                               Attorneys for Plaintiffs and Judgment
 13                                            Creditors Big Bird Holdings, LLC and
                                               Jonathan David Parker
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